                   Case 3:21-cv-03496-AMO Document 228-35 Filed 05/17/24 Page 1 of 3


   From:
             Tabish Mustufa [/O=INTUSURG/OU=MAIN/CN=RECIPIENTS/CN=TABISHM]
                        
                                                                       
   Sent:
             5/25/2011   5:43:12 PM
                   
   To:
               Ted Walker [Ted.Walker@intusurg.com];
                                               Joe
                                   Orban [joe.orban@intusurg.com];
                                                           Tyler Morrissette
                                                                                              
                   
                   [Tyler.Morrissette@intusurg.com]
   CC:
               Thomas
                   Cooper
                           [Tom.Cooper@intusurg.com];
                                    Brandon  Garbus; David Long; Marc Tognaccini
                                                                
                   [Marc.Tognaccini@intusurg.com]
                   
   Subject:
          RE: RFID Meeting Action
                           Items
                                     




   In my initial
           thoughts on this, there are two threats
                 we're worried
                                                         about:
                                                               


   
   1.Reprocessing:                              
                   Take an expired instrument and   restore its available lives
   2.Counterfeiting: Take a
     non-ISl-designed instrument and put 
                               valid data on a tag so that it is accepted
                                                                                             by our
                                                                                                      machine
                                                                                                                      


   We'd
   like  to make both
              of these
                            difficult with the security features on our
                              tag. Reprocessing seems the
                                                                                    more likely
                                                                                                        
   threat.
   


   Actually encr tin the
       data on the
                           ta doesn't bu us
                                      much, other
                                                             than obfuscatin trade secrets
                                                                




   As an aside,
   




          I
            believe the Dallas implementation uses a "write
                   once" region in the tag to ensure that
                                                          decremented lives stay
                                                                                              
    ecremented.
   


   It
   to me that
      seems        we 
                     want something
                                   to  physically change in the tag (e.g., blowing a
                                                fuse) as we expire
                                                                                                      lives in the
                                                                                                           
   instrument.  We do
     have
                        something   like that from Atmel. If we can't
                                     get it from Baylogh's tag suppliers, we would
                                                                       leave  a
                                                                                                                            
   pretty significant vulnerability.
   


   -Tabish
   



   From:  Ted Walker
   
   Sent: Wednesday, May 25,
          2011 3:33 PM
                           
   To: Joe Orban; Tyler Morrissette
   
   Cc: Tabish Mustufa; Thomas Cooper;
             Brandon Garbus; David Long; Marc Tognaccini
                                
   Subject: RE: RFID Meeting Action Items
   


   PLAINTIFFS
   HiEXHIBIT
     Joe and Tyler,

     267
Highly Confidential-AEO
                                                                                           Intuitive-02068695
                                                                                                                   
                  Case 3:21-cv-03496-AMO Document 228-35 Filed 05/17/24 Page 2 of 3


   Okay, Rod and Greg
     want
                         me
                               to  be the software person from Orion
                                             looking into options for security. I
                                                                        am
                                                                                                                 not    exactly
                                                                                                                       
   an expert in this area, but I know what we do today and why. Also, I just talked to Tabish, and he, Tom Cooper, Marc
          
                                                                               
   Tognaccinni  and David Long are looking at their options in case Atmel does not work out
          for them.
                                                                                                     So, it sounds
                                                                                                                       like
                                                                                                                       
   there are quite a few
    of us interested all in
                              the same thing.
                                                


   I
     realize you guys
          are mainly looking at cannula, and have different
                           requirements. Maybe
                                                               we
                                                                                             should
                                                                                                talk on the
                                                                                                           phone
                                                                                                               
   tomorrow.
   


   Ted.
   



   From:
   
          Rodney 
                  Vance
   Sent: Wednesday, May 25,
          2011 1:47 PM
                           
   To: Ted Walker
   
   Cc: Gregory Toth;
         Boris Foelsch; Christopher Raymond; Brandon Garbus; Joe Orban; Tyler Morrissette
               
            FW: RFID Meeting Action Items
   
   Subject:


   Ted,
   


       Can
       you give Tyler a little
                  guidance?
                            


   Thanks,
   


   Rod.
   



   From:  Joe Orban
   
          Wednesday, May 25,
   
   Sent:                      2011 12:56 PM
                          
   
   To: Rodney 
               Vance
       Tyler Morrissette
   
   Cc:
             RE: RFID Meeting Action Items
   
   Subject:


   Rod,
   


   Although we have
   learned  that adding a unique
                            ID should be simple,
                                                   there are details about this
                                                                    that we would
                                                                                                     like to
                                                                                                            
   run by some one.
   


   For example, one supplier
               said they can
                           do 18 digits for the unique ID.
                                               We
                                                                                   get to define it, such
                                                                                            as Date Code+SN#
                                                                                                         
   ID, or Just SN# ID,
       etc.
                   


   Is there a point
         person Tyler
                      can contact regarding 
                             the details of our ID and or encryption details? Ted
                                                                                                           Walked
                                                                                                               seemed
                                                                                                                      
   like he knows a
      lot in this space?
                    


   Let me know
        who we
          should work with.
                      


   Thanks,
   
   Joe
   



   From:
      
          Rodney Vance
         Tuesday, May 24,
   
   Sent:                     2011 10:05 PM
                         
   To: Tyler Morrissette; Aaron Carrano; Joe Orban; Marc Tognaccini;
               Dean Hoornaert; Brandon Garbus; Stanley Fung;
                                                         




Highly Confidential-AEO
                                                                                            Intuitive-02068696
                                                                                                                    
                  Case 3:21-cv-03496-AMO Document 228-35 Filed 05/17/24 Page 3 of 3
   Joshua Radel; Thomas Cooper;
             Randy Goldberg;
                                     Greg Dachs; David Long; Gerry Labonville; Lisa Heaton; David DeTroy;
                                         
   Ted Walker; Katie Stoy; William Burbank; Scott Harrington
   
   Cc: Sal Brogna
   
   Subject:  RE: RFID Meeting Action Items
   



   Team,
   


       I
         spoke with Sal and he
          is directing us to keep encryption as a design
                                       requirement
                                                                        
   and
   although  he likes the idea of monitoring instrument usage via
               da Vinci Connect,
                                                                     
   he wants us 
    to retain the instrument based encryption    approach since
                                                          we will
                                                                             not be
                                                                                 
   able to count on
       Connect.
                 


       It is important to
           note that
                              retaining the encryption approach does not imply
                                 
   that we have
           to stay with Atmel. We
                  need   to choose the
                                                     best RFID vendor/partner
                                                                
   based   on business criteria looking forward and not allow the selection process to be
   
   unduly
   weighted     by Ducati usage or the
                    fact that current
                                                    production encryption processes
                                                          
   are Atmel based.
   


   Regards,
   


   Rod.
   



   From:  Tyler Morrissette
   
   Sent: Tuesday, May 24,
          2011 7:21 AM
                        
   To: Aaron Carrano;  Joe  Orban; Marc Tognaccini; Dean Hoornaert; Brandon Garbus; Stanley Fung; Joshua Radel; Thomas
   
   Cooper; Randy Goldberg;
                Greg Dachs; David Long; Rodney Vance;
                           Gerry Labonville; Lisa Heaton; David DeTroy; Ted
                                                             
   Walker; Katie Stoy; William Burbank; Scott Harrington
   
   Subject:  RFID Meeting Action Items
   



   See meeting action
          items below.
               


   Also this morning I spoke
          with Balogh about laser
                               marked unique IDs and they
                                                    said  that this
                                                                                           is already something they
                                                                                                         do
                                                                                                                            
   for other customers and they
     would  be able
                                        to provide to us. They
                                             are   also looking into what memory
                                                                              wecan  fit in a
                                                                                                                      
   small package we
    are  looking for. There
                             could be some
                                         technical  limitations to 64 kbits
                                                                      of memory and
                                                                                               as a company
                                                                                                                   
   we might have to live with 32 kbits of memory.
    


   •      Tyler to investigate number of
               autoclave  cycles an instrument must survive
                                                            for a 10
                                                                                           use instrument (including
                                                                                                      
   autoclaves for instruments that aren't used during a
        case)
                                                              
   •      Rodney
            to    speak with
                           Sal about the requirement for
                                       encryption on Orion Instruments and Cannulas
                                                                        
   •      Tyler to  speak
             with tag manufacturers to see what they can
                                           offer (unique IDs, ect)
                                                                     
   •        Tyler  to send sample tags
                   to lab (Stress Engineering Services) to profile their autoclave (no pre-vacuum)
                                   
   •        Tyler,  Joe and Brandon to have meeting 
                 with Tag companies
                                                                   to   discuss antennas and read distances
                                                                               
   •      Tyler to investigate number of
                  lives on Extend Training
                                                      Instruments
                                                                
   •      Mark
            towith 100 samples of
                      provide Tyler       the new 11x17
                                                           Atmel
                                                                            tag   off the new reel
                                                                                           of 10K tags
                                                                                                      




Highly Confidential-AEO
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